      Case 1:16-cr-00023-JRH-BKE Document 108 Filed 06/07/16 Page 1 of 3


                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     AUGUSTA DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )           CR 116-023
                                                 )
MICHAEL OTTEY                                    )
DORZDOWSKI CHANCE                                )
JEROME SHAW                                      )
                                            _________

                                           ORDER
                                           _________

       Before the Court are various pretrial discovery motions filed by the parties. Assuming

that the government has followed its customary liberal discovery policy in this case, many (if not

all) of the routine discovery motions filed by Defendants may have been satisfied without the

need for Court intervention. The Court will conduct a hearing to consider any motions that the

parties have not been able to resolve. Accordingly, the Court DIRECTS defense counsel and

the government to file a joint status report by June 16, 2016, that states whether all pretrial

motions have been satisfied or otherwise resolved. Any unresolved motions requiring a ruling

by the Court must be listed by title and docket number. For the convenience of the parties, the

Court has attached to this Order two sample formats for the joint status report.

       The Court will require attendance at a hearing on any motion listed as unresolved and

may require supplemental briefing prior to such hearing. The parties should only list motions

over which the parties disagree. Motions not listed will be deemed resolved or waived.

       SO ORDERED this 7th day of June, 2016, at Augusta, Georgia.
      Case 1:16-cr-00023-JRH-BKE Document 108 Filed 06/07/16 Page 2 of 3


                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )        CR 116-xxx
                                             )
DEFENDANT A                                  )
                                             )
                                 _______________________

                                JOINT STATUS REPORT
                                _______________________

       The United States of America, through the undersigned Assistant United States Attorney,

and Defendant, through his attorney, state that all pretrial motions have been satisfied or

otherwise resolved.

       This ____ day of _________________________, 2016, at Augusta, Georgia.



                                           /s/    Assistant United States Attorney



                                           /s/    Defense Counsel




                                        EXHIBIT A
      Case 1:16-cr-00023-JRH-BKE Document 108 Filed 06/07/16 Page 3 of 3


                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      AUGUSTA DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )        CR 116-xxx
                                              )
DEFENDANT A                                   )
                                              )
                                  _______________________

                                  JOINT STATUS REPORT
                                  _______________________

       The United States of America, through the undersigned Assistant United States Attorney,

and Defendant, through his attorney, state that they have not been able to resolve the following

pretrial motion(s) and will require a ruling from the Court to settle the actual controversy or

dispute:

       ●       Motion to Suppress            Doc. no. 8

       ●       Motion for Severance          Doc. no. 10

       We understand that the Court will require attendance at a hearing on any listed motion

and may require supplemental briefing prior to such hearing. We also understand that we will be

required to explain to the Court what steps were taken to attempt to resolve the motion(s) without

Court intervention.

       This ____ day of _________________________, 2016, at Augusta, Georgia.

                                             /s/    Assistant United States Attorney

                                             /s/    Defense Counsel



                                          EXHIBIT B
